                                              2:21-cr-20014-CSB-EIL # 30                           Page 1 of 5
                                                                                                                                                   E-FILED
                                                                                                         Monday, 04 October,
                                                                                                                          V 4.02021
                                                                                                                                8/4/2001:39:40 PM
                                                                                                                  Clerk, U.S. District Court, ILCD

     Instructions for Connection to Cisco Meeting
                                                    Video Conference
                                                      Hon. Judge Bruce
                                      AUDIO ONLY: 571-353-2300
                                                    Code: 827466136#


Step 1. Open Google Chrome and copy/paste the link the following link into the
address bar:

https://join.uc.uscourts.gov/invited.sf?secret=oyl7THQ5Wa00IXA_PeDDPg&id=82
                                      7466136

Step 2. Once the webpage loads, type your first and last name into the Your
Name field and select the Join Meeting button.

  , , Cisco Meeting App               X       +                                                                                        •       X


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                                                                       FOR AUTHORIZED USE ONLY


                                                                            Joining Judge Bruce.


                                                                                   Your name



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Step 3: On the next screen, select the little lock icon on the top near the address
bar and make sure that both the Camera and Microphone settings are set to
allow. There is a webcam preview available on this screen so make sure that the
defendant and whoever else needs to be in the room with him or her are both
visible. There is also a bar that shows the microphone level. Please make sure
your microphone is in working order and that you can be heard on the video
call.

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 .. . Apps      ILCDS                                                                    X   her...
                         Connectio n is secure
                         Your info rmation (fo r example, passwords or credit
                         card numbers) is private whe n it is sent to t his sit e.
                         l earn more


                         .         ca mera                          Allow
                                                                                                   Judge Bruce
                                                                                             video system      Management and presentation
                            ~      Microphone                       A llow



                            ta     Notifications                    Block
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Step 4: Once you reach this screen, you have now entered the meeting. Please
wait for the courtroom to connect their side, if they have not already.

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                                                                             You are the only participant




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NOTE: If you happen to disconnect from the hearing before it is finished, you will
come across a screen like this:

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To get back into the meeting, select the Join Meeting option. At the following
screen below, in the Meeting ID field, type in the following ID:
                                                                            827466136
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                                                               FOR AUTHORIZED USE ONLY



                                                                            Meeting ID

                                                                             Passcode




                                                                           Jo,n meeting




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                                                                             CISCO


Once the ID is entered, select Join Meeting and you will be prompted to enter
your name again.

If you have ANY issues connecting or are having difficulties hearing / seeing the
judge or anything on the federal courtroom side, please contact:

 Aaron Wilder                             Dustin Henry
 Information Services Specialist (Peoria) Information Technology Administrator
 (309) 201-2127 CELL                      (217) 492-4005
 OR
 (309) 671-7180 DESK

 Rhonda Fleming
 Information Services Specialist
 (217) 398-5247
